' Case 3:16-cv-00463-BEN-JMA Document 169 Filed 06/14/18 PageID.13379 Page 1 of 23



 1
                                                                             Fl LED
 2
                                                                         18JUN 14 AM 9:~1
 3
                                                                       Cl£RK us DIS T~ICT .COURT
                                                                       sournciiH 01s'rn1c1 CF CALIFORNIA
 4
                                                                                                 OEPUT't
 5                                                                     BY:

 6
 7
 8                           UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
10
11   VIASAT, INC., a Delaware Corporation,           Case No.: 3:16-cv-00463-BEN-JMA
12             Plaintiff and Counter-Defendant,
                                                     ORDER GRANTING IN PART AND
13   v.                                              DENYING IN PART MOTIONS TO
                                                     FILE UNDER SEAL
14   ACACIA COMMUNICATIONS, INC., a
     Delaware corporation,
15                                                   [Doc. Nos. 73, 81, 84, 87, 90, 92, 96,
              Defendant and Counter-Claimant.        101, 104, 107, 117, 123, 133, 136, 139,
16
                                                     142,146,149,154,164]
17
18         Before the Court is Plaintiff ViaSat, Inc. ("ViaSat") and Defendant Acacia
19   Communications, Inc.'s ("Acacia") numerous Motions to Seal. Specifically, there are
20   twenty Motions seeking to seal 8,774 pages of the public record. The Court addresses all
21   of the Motions to Seal in this Order.
22   I.    The Right of Access to Judicial Records

23         In Nixon v. Warner Communications, Inc., 435 U.S. 589 (1978), the Supreme
24   Court recognized that the public has "a general right to inspect and copy public records
25   and documents, including judicial records and documents." Id. at 597. The main reason
26   for this general right is to accommodate "the citizen's desire to keep a watchful eye on
27   the workings of ... government." Id. at 598. However, the Supreme Court also stated,
28   "the right to inspect and copy judicial records is not absolute." Id. at 589. "Every court


                                                                                3: 16-cv-00463-BEN-JMA
 Case 3:16-cv-00463-BEN-JMA Document 169 Filed 06/14/18 PageID.13380 Page 2 of 23


 1   has supervisory power over its own records and files, and access has been denied where
 2   court files might have become a vehicle for improper purposes," such as "to gratify
 3   private spite or promote public scandal," or to serve as a source of"business information
 4   that might harm a litigant's competitive standing." Id. (internal citations omitted).
 5         Except for certain documents "traditionally kept secret," federal courts begin a
 6   sealing analysis with "a strong presumption in favor of access to court records." Foltz v.
 7   State Farm Mut. Auto. Ins. Co., 331 F.3d 1122, 1135 (9th Cir. 2003). A party seeking to
 8   seal a judicial record then bears the burden of overcoming this strong presumption by
 9   meeting the "compelling reasons" standard. Id.; Kamakana v. City & Cnty. ofHonolulu,
10   44 7 F .3d 1172, 1179 (9th Cir. 2006) (applying compelling reasons standard to dispositive
11   motions); DISH Network, L.L.C. v. Sonicview USA, Inc., No. 09-cv-1553-L, 2009 WL
12   2579052, at* 1 (S.D. Cal. Aug. 20, 2009) (treating motion for preliminary injunction as
13   dispositive for sealing analysis because the motion directly addresses the merits and seeks
14   injunctive relief before trial). That is, the party must "articulate [] compelling reasons
15   supported by specific factual findings," Foltz, 331 F.3d at 1135, that outweigh the general
16   history of access and the public policies favoring disclosure, such as the "public interest
17   in understanding the judicial process," Hagestad v. Tragesser, 49 F.3d 1430, 1434 (9th
18   Cir. 1995).
19         "The mere fact that the production of records may lead to a litigant's
20   embarrassment, incrimination, or exposure to further litigation will not, without more,
21   compel the court to seal its records." Kamakana, 447 F.3d at 1179. A party must satisfy
22   the compelling reasons standard even ifthe motion, or its attachments, was previously
23   filed under seal or protective order. Foltz, 331 F.3d at 1136 ("[T]he presumption of
24   access is not rebutted where ... documents subject to a protective order are filed under
25   seal as attachments to a dispositive motion."). Moreover "[s]imply mentioning a general
26   category of privilege, without further elaboration or any specific linkage with the
27   documents, does not satisfy the burden." Kamakana, 447 F.3d at 1184. A party's failure
28
                                                   2
                                                                               3: l 6-cv-00463-BEN-JMA
•
    Case 3:16-cv-00463-BEN-JMA Document 169 Filed 06/14/18 PageID.13381 Page 3 of 23


    1 to meet the burden of articulating specific facts showing a "compelling reason" means
    2   that the "default posture of public access prevails." Id. at 1182.
    3         In tum, the court must "conscientiously balance []the competing interests" of the
    4   public and the party who seeks to keep certain judicial records secret. Foltz, 331 F.3d at
    5   1135. After considering these interests, ifthe court decides to seal certain judicial
    6   records, it must "base its decision on a compelling reason and articulate the factual basis
    7   for its ruling, without relying on hypothesis or conjecture." Hagestad, 49 F.3d at 1434
    8   (citing Valley Broadcasting Co. v. US. Dist. Ct., 798 F.2d 1289, 1295 (9th Cir.1986)).
    9         In ruling on motions to seal, this Court has recognized that "compelling reasons
10      sufficient to outweigh the public's interest in disclosure and justify sealing court records
11      exist when such court files might ... become a vehicle for improper purposes, such as the
12      use of records to ... release trade secrets." Kamakana, 44 7 F Jd at 1179. A "trade secret
13      may consist of any formula, pattern, device or compilation of information which is used
14      in one's business, and which gives him an opportunity to obtain an advantage over
15      competitors who do not know or use it." Restatement of Torts§ 757 cmt. b.
16            Similarly, other "sources of business information that might harm a litigant's
17      competitive standing" may also constitute a compelling reason to seal, see Nixon, 435
18      U.S. at 598, as a company's confidential profit, cost, and pricing information if publicly
19      disclosed could put the company at a competitive disadvantage, see Apple, Inc. v.
20      Samsung Elec. Co., 727 F.3d 1214, 1225 (Fed. Cir. 2013) ("[I]t seems clear that if
21      Apple's and Samsung's suppliers have access to their profit, cost, and margin data, it
22      could give the suppliers an advantage in contract negotiations, which they could use to
23      extract price increases for components.").
24      Ill
25      Ill
26      Ill
27      Ill
28      Ill
                                                      3
                                                                                  3: l 6-cv-00463-BEN-JMA
 Case 3:16-cv-00463-BEN-JMA Document 169 Filed 06/14/18 PageID.13382 Page 4 of 23


 1   II.    Discussion
 2          A.     PlaintifPs Motions to Seal
 3          ViaSat has filed twelve Motions to Seal. The Motions are unopposed and Plaintiff
 4   asserts that all documents sought to be sealed in each Motion have been designated as
 5   "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL-ATTORNEYS' EYES ONLY"
 6   pursuant to the Stipulated Protective Order (Doc. No. 29), meaning that disclosure would
 7   harm the competitive standing of the parties. The Court will review each motion in turn.
 8                 1.     Motion to File Under Seal, 212/18 -(Doc. No. 87.)
 9                        Motion for Summary Judgment
10          Plaintiff seeks to file under seal portions of its Motion for Summary Judgment
11   ("Motion") on Acacia's Counterclaim for Patent Misappropriation and Exhibits 4 and 5
12   to the Declaration of Erika H. Warren in support of their motion. 1 The Court finds that
13   Plaintiff has narrowly tailored its request to seal to only those portions of the Motion and
14   Exhibits that contain technical information that, if disclosed, would place the designating
15   party at a competitive disadvantage.
16          Therefore, the Court GRANTS Plaintiffs Motion to Seal and hereby ORDERS the
17   Motion and Exhibits 4-5 to the Declaration of Erika H. Warren in support of the motion
18   be filed under seal. 2
19                 2.     Motion to File Under Seal, 2/2/18 -(Doc. No. 92.)
20                        Motion to Exclude Expert Testimony
21          Plaintiff seeks to file under seal portions of its Motion to Exclude Expert
22   Testimony ("Motion"), Exhibits 2-8 and 10-17 to the Declaration of Patrick M. Shields,
23   and the Declaration of Dr. Russell Fuerst in support of their motion. 3 The Court finds
24
25
     1 Plaintiff simultaneously filed a redacted version of the Motion for Summary Judgment
26   with the motion to seal. (Doc. No. 89.)
     2
27     See Doc. Nos. 88; 88-1 to 88-2.
     3 Plaintiff simultaneously filed a redacted version of the Motion to Exclude Expert
28
     Testimony with the motion to seal. (Doc. No. 95.)
                                                   4
                                                                              3:16-cv-00463-BEN-JMA
•
 Case 3:16-cv-00463-BEN-JMA Document 169 Filed 06/14/18 PageID.13383 Page 5 of 23


    1 that Plaintiff has narrowly tailored its request to seal to only those portions of the Motion,
    2   Declarations, and Exhibits that contain business and technical information that, if
    3   disclosed, would place the designating party at a competitive disadvantage.
    4           Therefore, the Court GRANTS Plaintiffs Motion to Seal and hereby ORDERS the
    5 Motion, Exhibits 2-8, 10-17 to the Declaration of Patrick M. Shields, and the Declaration
    6   of Dr. Russell Fuerst be filed under seal. 4
    7                 3.     Motion to File Under Seal, 2/2/18- (Doc. No. 96.)
 8                           Motion for Partial Summary Judgment
 9              Plaintiff seeks to file under seal portions of its Motion for Partial Summary
10      Judgment ("Motion") and Exhibits 1-18, 23-59 to the Declaration of Kenneth M.
11      Fitzgerald in support of their motion. 5 The Court finds that Plaintiff has narrowly
12      tailored its request to seal the Motion and Exhibits 1-18, 23, and 27-59 to only those
13      portions that contain business and technical information that,, if disclosed, would place
14      the designating party at a competitive disadvantage.
15              However, after reviewing Exhibits 24 6 and 25 7, the Court is not persuaded the
16      information warrants sealing both reports entirely under the compelling reasons standard.
17      Namely, Plaintiff does not provide a "particularized showing" that "specific prejudice or
18      harm will result" if excerpts from the reports are publicly disclosed. See Foltz, 331 F.3d
19      at 1130. Plaintiff asserts the reports contain sensitive information about ViaSat' s trade
20      secrets, Acacia's accused products and other business and technical information.
21      Nevertheless, Plaintiffs explanation for sealing the reports is generalized in nature and
22      does not account for why multiple pages of an academic, professional and presumably
23      historical product or service background should be redacted. Requests to seal must be
24
25
        4 SeeDoc. Nos. 94; 94-2 to 94-8; 94-10 to 94-17.
26      5 Plaintiff simultaneously filed a redacted version of the Motion for Partial Summary
27      Judgment with the motion to seal. (Doc. No. 98.)
        6
          Exhibit 24 is an expert report of Professor Krishna Narayanan dated October 27, 2017.
28      7
          Exhibit 25 is an expert report of Dr. Alexander Vardy dated November 21, 2017.
                                                       5
                                                                                  3: l 6-cv-00463-BEN-JMA
 Case 3:16-cv-00463-BEN-JMA Document 169 Filed 06/14/18 PageID.13384 Page 6 of 23


 1 narrowly tailored, Plaintiffs request is not. Portions of each exhibit are sealable, but not
 2   the entire reports.
 3         Therefore, the Court GRANTS in part, and DENIES in part Plaintiffs Motion to
 4   Seal. The Court hereby ORDERS the Motion and Exhibits 1-18, 23, 27-59 to the
 5   Declaration of Kenneth M. Fitzgerald in support of the motion filed under seal. 8 The
 6   Court further DENIES Plaintiff's request to Seal Exhibits 24 and 25.
 7                 4.      Motion to File Under Seal, 2/6/18 -(Doc. No. 101.)
 8                         Opposition to Acacia's Motion for Partial Summary Judgment
 9         Plaintiff seeks to file under seal portions of its Opposition to Defendant's Motion
10   for Partial Summary Judgment Regarding Damages ("Opposition") and Exhibits 1, 3-34,
11   and 36-44 to the Declaration of Patrick M. Shields in support of their Opposition. 9 The
12   Court finds that Plaintiff has narrowly tailored its request to seal to only those portions of
13   the Opposition and Exhibits 1, 5-11, 13-14, 16-30, 32-34, 37-39, and 41-44 that contain
14   business and technical information that, if disclosed, would place the designating party at
15   a competitive disadvantage.
16         The Plaintiff has not persuaded the Court the information contained in Exhibits 3-
17   4, 12, 15, 31, 36, and 40 warrant sealing the reports entirely. Exhibit 3 is a copy of the
18   Rebuttal Expert Report of Dr. Ivan Djordjevic; Exhibit 4 is a copy of the Opening Expert
19   Report of Dr. Krishna Narayanan; Exhibit 12 is a copy of the Expert Report of Dr.
20   Alexander Vardy; Exhibit 15 is a copy of the Expert Report of Stephen D. Prowse, Ph.D.,
21   CF A; Exhibit 31 is a copy of the Rebuttal Expert Report regarding Damages of Brent K.
22   Bersin; Exhibit 36 is a copy of the Preliminary Affirmative Expert Report Regarding
23   Damages of Brent K. Bersin. Plaintiffs seek to seal the full reports because they
24
25
26
     8
27    See Doc. Nos. 97; 97-1to97-18; 97-23; 97-27 to 97-59.
     9Plaintiff simultaneously filed a redacted version of the Opposition with the motion to
28   seal. (Doc. No. 103.)
                                                   6
                                                                                3: l 6-cv-00463-BEN-JMA
 Case 3:16-cv-00463-BEN-JMA Document 169 Filed 06/14/18 PageID.13385 Page 7 of 23


 1 allegedly contain sensitive information about ViaSat's trade secrets, Acacia's accused
 2   products and other business and technical information.
 3         As with its previous Motions to Seal, Plaintiff has failed to make the necessary
 4   showing to justify sealing the exhibits entirely. Plaintiff's explanation is generalized and
 5   insufficient. No "particularized showing" of"specific prejudice or harm" would result if
 6   public disclosure was made. (Id.) Finally, Plaintiff fails to explain why multiple pages of
 7   an academic, professional and presumably historical product or service background
 8   should be redacted. Without more, the request to seal cannot be granted.
 9         Exhibit 40 is a copy of Exhibit 563 from the deposition of Christian Rasmussen.
10   The Motion to Seal states Exhibit 40 contains information that Acacia identified as
11   confidential. No additional reason is given to justify sealing the Exhibit. Conclusory or
12   blanket assertions to seal a document are not enough to satisfy the compelling reasons
13   standard. Moreover, because the Court is precluded from hypothesizing or assuming that
14   a compelling reason exists, Plaintiff will not be permitted to redact this information as
15   submitted.
16         Therefore, the Court GRANTS in part and DENIES in part Plaintiffs Motion to
17   Seal. The Court hereby ORDERS the Opposition and Exhibits 1, 5-11, 13-14, 16-30, 32-
18   34, 37-39, and 41-44 to the Declaration in support be filed under seal. 10 The Court
19   further DENIES Plaintiffs request to Seal Exhibits 3-4, 12, 15, 31, 36, and 40.
20                5.    Motion to File Under Seal, 2/12/18 -(Doc. No. 104.)
21                       Opposition to Acacia's Motion for Preliminary Injunction
22         Plaintiff seeks to file under seal portions of its Opposition to Defendant's Motion
23   for Summary Judgment Regarding No Liability ("Opposition") and Exhibits 5-39 to the
24
25
26
27
     10See Doc. Nos. 102; 102-1; 102-5 to 102-11; 102-13 to 102-14; 102-16 to 102-30; 102-
28   32 to 102-34; 102-37 to 102-39; and 102-41 to 102-44.
                                                   7
                                                                               3: l 6-cv-00463-BEN-JMA
 Case 3:16-cv-00463-BEN-JMA Document 169 Filed 06/14/18 PageID.13386 Page 8 of 23


 1 Declaration of Kenneth M. Fitzgerald in support their Opposition. 11 The Court finds that
 2   Plaintiff has narrowly tailored its request to seal to only those portions of the Opposition
 3   and Exhibits 5-16 and 21-39 that contain business, financial and technical information
 4   that, if disclosed, would place the designating party at a competitive disadvantage.
 5         The Court is not convinced the information contained in Exhibits 17-20 warrants
 6   sealing the reports entirely. Exhibit 17 is a copy of the Expert Report of Professor
 7 Krishna Narayanan; Exhibit 18 is a copy of the Expert Report of Dr. Alexander Vardy;
 8 Exhibit 19 is a copy of the Expert Report of Dr. Marwan Hassoun; Exhibit 20 is a copy of
 9   the Expert Report of Stephen D. Prowse, Ph.D., CF A.
10         Again, Plaintiff has not made the necessary showing to justify sealing the exhibits
11   entirely. Plaintiffs explanation is generalized with no "particularized showing" of
12   "specific prejudice or harm." Finally, Plaintiff fails to explain why multiple pages of
13   non-confidential information should be sealed. Without more, the request to seal cannot
14   be granted. Portions of each report are sealable, but not each report in its entirety.
15         Therefore, the Court GRANTS in part and DENIES in part Plaintiffs Motion to
16   Seal. The Court hereby ORDERS the Opposition and Exhibits 5-16 and 21-39 to the
17   Declaration in support be filed under seal. 12 The Court further DENIES Plaintiffs
18   request to seal Exhibits 17-20.
19                6.     Motion to File Under Seal, 2/19/18 - (Doc. No. 123.)
20                       ViaSat's Motion for Summary Judgment
21         Plaintiff seeks to file under seal its Corrected Memorandum in Support of ViaSat' s
22   Motion for Summary Judgment on Acacia's Counterclaim for Patent Misappropriation
23   ("Corrected Memorandum l "); its Corrected Memorandum of Points and Authorities in
24   Support ofViaSat's Motion to Exclude Expert Testimony ("Corrected Memorandum 2");
25
26
27   11 Plaintiff simultaneously filed a redacted version of the Opposition with the motion to
     seal. (Doc. No. 106.)
28   12 See Doc Nos. 105; 105-5 to 105-16; 105-21to105-39.

                                                    8
                                                                                3: 16-cv-00463-BEN-JMA
 Case 3:16-cv-00463-BEN-JMA Document 169 Filed 06/14/18 PageID.13387 Page 9 of 23


 1 and Exhibit F and G to ViaSat's Ex Parte Application for Leave to Correct Errors in its
 2   Motions for Summary Judgment and to Exclude Expert Testimony. 13 The Court has
 3   reviewed the Corrected Memoranda and Exhibits and deems them narrowly tailored to
 4   seal only those portions that contain business, financial and technical information that, if
 5   disclosed, would place the designating party at a competitive disadvantage.
 6              Therefore, the Court GRANTS Plaintiffs Motion to Seal and hereby ORDERS
 7   Corrected Memoranda 1 and 2, and Exhibits F and G filed under seal. Notably, the
 8   information sought to be sealed in this Motion was previously granted in Docket
 9   Numbers 87 and 92.
10                    7.    Motion to File Under Seal, 2126/18 -(Doc. Nos. 133.)
11                          Reply in Support ofMotion for Partial Summary Judgment
12              Plaintiff seeks to file under seal portions of its Reply Memorandum of Points and
13   Authorities in Support of Motion for Partial Summary Judgment ("Reply") and Exhibits
14   60-63 to the Reply Declaration of Kenneth M. Fitzgerald in support of the Motion. 14 The
15   Court finds that Plaintiff has narrowly tailored its request to seal to only those portions of
16   the Reply and Exhibits 60-63 that contain business, financial and technical information
17   that, if disclosed, would place the designating party at a competitive disadvantage.
18              Therefore, the Court GRANTS Plaintiffs Motion to Seal. The Court hereby
19   ORDERS the Reply andExhibits 60-63 to the Declaration in support be filed under
20   seal. 15
21   Ill
22   Ill
23   Ill
24
25
     13 Plaintiff simultaneously filed redacted versions of Corrected Memorandum 1, 2,
26   Exhibits F, and G with the motion to seal. (Doc. Nos. 124-25.)
27   14 Plaintiff simultaneously filed a redacted version of the Reply in Support of Partial

     Summary Judgment with the motion to seal. (Doc. No. 135.)
28   15 See Doc. Nos. 134; 134-60 to 134-63.

                                                      9
                                                                                3: l 6-cv-00463-BEN-JMA
Case 3:16-cv-00463-BEN-JMA Document 169 Filed 06/14/18 PageID.13388 Page 10 of 23


 1                  8.     Motion to File Under Seal, 2/26/18 - (Doc. No. 136.)
 2                         Opposition to Acacia's Motion to Strike
 3            Plaintiff seeks to file under seal portions of its Opposition to Acacia's Motion to
 4   Strike and Exclude Certain Opinions ofViaSat's Experts ("Opposition") and Exhibits 1-3
 5   and 5-6 to the Declaration of Matthew S. Warren in Support of their Opposition. The
 6   Court finds that Plaintiff has narrowly tailored its request to seal to only those portions of
 7   the Opposition and Exhibits 1-3, and 6 that contain business, financial and technical
 8   information that, if disclosed, would place the designating party at a competitive
 9   disadvantage.
10            Plaintiff has not swayed the Court that the information contained in Exhibit 5
11   warrants sealing. The exhibit is a copy of an email exchange between multiple named
12   parties that Acacia claims contain information designated as "HIGHLY
13   CONFIDENTIAL-ATTORNEYS EYES ONLY." The exchange does not appear to
14   include product business, financial, or technical specifications that would justify sealing
15   it. No other justification for sealing the Exhibit is provided. Merely stating that an item
16   is "HIGHLY CONFIDENTIAL-ATTORNEYS EYES ONLY" is insufficient. Without
17   more, the request to seal cannot be granted.
18            Therefore, the Court GRANTS in part and DENIES in part Plaintiffs Motion to
19   Seal. The Court hereby ORDERS the Opposition and Exhibits 1-3 and 6 to the
20   Declaration in support filed under seal. 16 The Court further DENIES Plaintiffs request
21   to seal Exhibit 5.
22                  9.     Motion to File Under Seal, 2/26/18 - (Doc. No. 139.)
23                         Reply in Support of ViaSat's Motion to Exclude
24            Plaintiff seeks to file under seal portions of its Reply Memorandum in Support of
25   ViaSat's Motion to Exclude Expert Testimony ("Reply") and Exhibits 18-23 to the Reply
26
27
28   16   See Doc. Nos. 137; 137-1 to 137-3; 137-6.
                                                     10
                                                                                 3: 16-cv-00463-BEN-JMA
Case 3:16-cv-00463-BEN-JMA Document 169 Filed 06/14/18 PageID.13389 Page 11 of 23


 1   Declaration of Patrick M. Shields in Support of their Motion to Exclude Expert
 2   Testimony. 17 The Court finds that Plaintiff has narrowly tailored its request to seal to
 3   only those portions of the Reply and Exhibits that contain business, financial and
 4   technical information that, if disclosed, would place the designating party at a
 5   competitive disadvantage.
 6         Therefore, the Court GRANTS Plaintiffs Motion to Seal. The Court hereby
 7   ORDERS the Reply and Exhibits 18-23 to the Declaration in support filed under seal. 18
 8                10.   Motion to File Under Seal, 2/26/18 -(Doc. No. 142.)
 9                      Memorandum in Support ofMotion for Summary Judgment
10         Plaintiff seeks to file under seal portions of the Reply Memorandum in Support of
11   their Motion for Summary Judgment on Acacia's Counterclaim for Patent
12   Misappropriation ("Reply"). 19 The Court finds that Plaintiff has narrowly tailored its
13   request to seal to only those portions of the Reply that contain business, financial and
14   technical information that, if disclosed, would place the designating party at a
15   competitive disadvantage.
16         Therefore, the Court GRANTS Plaintiffs Motion to Seal. The Court hereby
17   ORDERS the Reply filed under sea!. 20
18                11.   Motion to File Under Seal, 3/5/18 - (Doc. No. 149 .)
19                      Opposition to Acacia's Motion for Summary Judgment
20         Plaintiff seeks to file under seal portions of its Opposition to Acacia's Motion for
21   Summary Judgment Regarding No Liability that ViaSat Lacks Trade Secret Rights
22   ("Opposition"); Exhibit 1 to the Declaration of Russel Fuerst ("Exh. 1-RF"); Exhibit 1 to
23
24
25   17 Plaintiff simultaneously filed a redacted version of the Reply with the Motion to Seal.
     (Doc. No. 141.)
26   18
        See Doc. Nos. 140; 140-18 to 140-23.
     19
27      Plaintiff simultaneously filed a redacted version of the Reply with the motion to seal.
     (Doc. No. 144.)
28   20
        See Doc. Nos. 143.
                                                   II
                                                                               3: 16-cv-00463-BEN-JMA
Case 3:16-cv-00463-BEN-JMA Document 169 Filed 06/14/18 PageID.13390 Page 12 of 23


 1 the Declaration of Chandrasekar Raj ("Exh. 1-CR"); and Exhibits 3-20 to the Declaration
 2   of David M. Beckwith. 21 The Court finds that Plaintiff has narrowly tailored its request
 3   to seal to only those portions of the Opposition, Exh. 1-RF, Exh. 1-CR, and Exhibits 3-20
 4   that contain business, financial and technical trade secret information that, if disclosed,
 5   would place the designating party at a competitive disadvantage.
 6         Therefore, the Court GRANTS Plaintiffs Motion to Seal. The Court hereby
 7   ORDERS the Opposition, Exh. 1-RF, Exh. 1-CR, and Exhibits 3-20 to the Declaration of
 8   David Beckwith in support filed under seal. 22
 9                12.    Motion to File Under Seal, 5/7/18 - (Doc. No. 164.)
10                       Memorandum of Contentions of Fact and Law
11         Plaintiff seeks to file under seal portions of its Memorandum of Contentions of
12   Fact and Law ("Memorandum") and Exhibit A to the memorandum. 23 The Court finds
13   that Plaintiff has narrowly tailored its request to seal to only those portions of the
14   Memorandum and Exhibit A that contain business, financial and technical information
15   that, if disclosed, would place the designating party at a competitive disadvantage.
16         Therefore, the Court GRANTS the Plaintiffs Motion. The Court hereby ORDERS
17   the Memorandum and Exhibit A to the Memorandum filed under seal. 24
18         B.     Defendants' Motions to Seal
19         Defendant Acacia has filed eight Motions to Seal. The Motions are unopposed and
20   Defendant asserts that all the documents sought to be sealed in each Motion have been
21   designated as "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL-ATTORNEYS'
22
23
24
25   21 Plaintiff simultaneously filed a redacted version of the Opposition with the motion to
     seal. (Doc. No. 151.)
26   22
        SeeDoc. Nos.150; 150-1to150-20.
     23
27      Plaintiff simultaneously filed a redacted version of the Memorandum with the motion
     to seal. (Doc. No. 166.)
28   24
        See Doc. Nos. 165; 165-1.
                                                   12
                                                                                3: 16-cv-00463-BEN-JMA
Case 3:16-cv-00463-BEN-JMA Document 169 Filed 06/14/18 PageID.13391 Page 13 of 23


 1 EYES ONLY" pursuant to the Stipulated Protective Order (Doc. No. 29). The Court will
 2   review each motion in tum.
 3                1.    Motion to File Under Seal, 1/17118 - (Doc. No. 73.)
 4                      Motion/or Partial Summary Judgment
 5         Defendant seeks to file under seal portions of its Motion for Partial Summary
 6   Judgment Regarding Damages ("Partial MSJ") and Exhibits 2-3, 5-11 to the Declaration
 7   of Stuart V. C. Duncan Smith in support of their Motion. 25 The Court finds that
 8   Defendant has narrowly tailored its request to seal to only the portions of the Partial MSJ
 9   and Exhibits 3, 5-7, 9-11 that contain business, financial and technical information that, if
10   disclosed, would place the designating party at a competitive disadvantage.
11         However, Defendant has not demonstrated a compelling reason to overcome the
12   presumption of public access to judicial records to justify sealing Exhibits 2 and 8.
13   Exhibit 2 is a copy of the Expert Report of Stephen D. Prowse, Ph.D., CFA, and Exhibit
14   8 is a copy of the Rebuttal Expert Report Regarding Damages of Brent K. Bersin. To
15   begin with, Defendant's explanation is generalized with no "particularized showing" of
16   "specific prejudice or harm" that would arise from disclosure. Moreover, Defendant fails
17   to explain why multiple pages of non-confidential information should be sealed. Without
18   more, a request to seal cannot be granted.
19         Therefore, the Court GRANTS in part and DENIES in part Defendants Motion to
20   Seal. The Court hereby ORDERS the Partial MSJ and Exhibits 3, 5-7, 9-11 to the
21   Declaration in support filed under seal. 26 The Court further DENIES Defendants request
22   to Seal Exhibits 2 and 8.
23   Ill
24   Ill
25
26
     25
27      Defendant simultaneously filed a redacted version of the Partial MSJ with the motion to
     seal. (Doc. No. 75.)
28   26 See Doc. Nos. 74; 74-3; 74-5 to 74-7; 74-9 to 74-11.

                                                  13
                                                                              3: l 6-cv-00463-BEN-JMA
Case 3:16-cv-00463-BEN-JMA Document 169 Filed 06/14/18 PageID.13392 Page 14 of 23


 1                2.     Motion to File Under Seal, 1/26/18 - (Doc. No. 81.)
 2                       Motion for Summary Judgment
 3         Defendant seeks to file under seal portions of its Motion for Summary Judgment
 4   Regarding No Liability ("Motion") and Exhibits 2, 5-6, 8, 13-24, 26-30, and 33-41 to the
 5   Declaration of Stuart V. C. Duncan Smith in support of their Motion. 27 The Court finds
 6   Defendant has narrowly tailored its request to seal to only the portions of the Motion and
 7   Exhibits 5, 13, 17-23, 27-30, and 33-41 that contain business, financial and technical
 8   trade secret information that, if disclosed, would place the designating party at a
 9   competitive disadvantage.
10         The Court is not persuaded the information contained in Exhibits 2, 8, 14, 15, 16,
11   24, 26 warrant sealing. Exhibit 2 is a copy of the Expert Report of Stephen D. Prowse,
12   Pd.D., CFA; Exhibit 8 is a copy of the Rebuttal Expert Report Regarding Damages of
13   Brent K. Bersin; Exhibit 14 is a copy of the Rebuttal Report of Professor Ivan Djordjevic,
14   Ph.D.; Exhibit 15 is a copy of the Expert Report of Dr. Alexander Vardy; Exhibit 16 is a
15   copy of the Opening Expert Report of Professor Krishna Narayanan, Ph.D.; Exhibit 24 is
16   a copy of the Expert Report of Dr. Richard W. Koralek; and Exhibit 26 is a copy of the
17   Opening Report of Dr. Marwan Hassoun.
18         Defendant seeks to seal all of the expert reports alleging that each contains
19   sensitive information that ViaSat has designated as "HIGHLY CONFIDENTIAL-
20   ATTORNEYS' EYES ONLY" as well as information that is Third Party Highly
21   Confidential. This includes documents produced by third parties in the course of
22   litigation, confidential business and financial information regarding product sales, royalty
23   payments, and an assessment on the value of the technology and products at issue in this
24   case. Defendants explanation is insufficient to justify sealing each report in its entirety.
25   Moreover, their explanation is merely a generalized response with no "particularized
26
27
     27Defendant simultaneously filed a redacted version of the MSJ with the motion to seal.
28   (Doc. No. 83.)
                                                   14
                                                                                3: l 6-cv-00463-BEN-JMA
Case 3:16-cv-00463-BEN-JMA Document 169 Filed 06/14/18 PageID.13393 Page 15 of 23


 1   showing" of"specific prejudice or harm." Lastly, Defendant fails to explain why
 2   multiple pages of non-confidential information should be sealed. Without more, the
 3   request to seal cannot be granted.
 4         Therefore, the Court GRANTS in part and DENIES in part Defendants Motion to
 5   Seal. The Court hereby ORDERS the Motion and Exhibits 5, 13, 17-23, 27-30, 33-41 to
 6   the Declaration in support filed under seal. 28 The Court further DENIES Defendants
 7   request to Seal Exhibits 2, 8, 14-16, 24, and 26.
 8                3.    Motion to File Under Seal, 2/1/18 - (Doc. No. 84.)
 9                      Motion to Strike and Exclude Certain Opinions
10         Defendant seeks to file under seal portions of its Motion to Strike and Exclude
11   Certain Opinions ("Motion") and Exhibits 2, 14-16, and 42-49 to the Third Declaration of
12   Stuart V. C. Duncan Smith in Support of their Motion. 29 The Court finds that Defendant
13   has narrowly tailored its request to Seal to only those portions of the Motion and Exhibits
14   16, and 43-48 that contain business and technical information that, if disclosed would
15   place the designating party at a competitive disadvantage.
16         The Court is not persuaded the information contained in Exhibits 2, 14, 15, 42 and
17   49 warrants sealing. Exhibit 2 is a copy of the Expert Report of Stephen D. Prowse,
18   Ph.D., CFA; Exhibit 14 is a copy of the Rebuttal Report of Professor Ivan Djordjevic,
19   Ph.D.; Exhibit 15 is a copy of the Expert Report of Dr. Alexander Vardy; Exhibit 42 is a
20   copy of the Rebuttal Expert Report of Stephen D. Prowse, Ph.D., CFA.
21         Defendant contends sealing the exhibits is necessary because each report contains
22   sensitive information ViaSat has deemed "HIGHLY CONFIDENTIAL-ATTORNEYS'
23   EYES ONLY" as well as information that is Third Party Highly Confidential. This
24   includes confidential technical, business and financial information on product sales,
25
26
     28
27     See Doc. Nos. 82; 82-5; 82-13; 82-17 to 82-23; 82-27 to 82-30; 82-33 to 82-41.
     29
       Defendant simultaneously filed a redacted version of the Motion with the motion to
28   seal. (Doc. No. 86.)
                                                   15
                                                                             3: l 6-cv-00463-BEN-JMA
Case 3:16-cv-00463-BEN-JMA Document 169 Filed 06/14/18 PageID.13394 Page 16 of 23


 1 royalty payments, assessments on the value of the technology at issue, Acacia's alleged
 2   trade secrets, and ViaSat's accused products. However, as discussed supra, Defendant's
 3   reasoning is generalized with no "particularized showing" of"specific prejudice or
 4   harm." Moreover, Defendant fails to explain why multiple pages of non-confidential
 5   information should be sealed. Without more, the request to seal cannot be granted.
 6         Exhibit 49 is a copy of an Acacia Presentation entitled "AC400 Project Review."
 7 It contains technical descriptions of Acacia's accused products and related technology
 8   and business information. Some of the information in the presentation is sealable, such
 9   as Acacia's software development status and causes for delays in development and
10   production. But, presumably, such information would be shared with third parties.
11   Moreover, Acacia only makes a blanket assertion the presentation contains information
12   that Acacia has identified as confidential. Such conclusory assertions, unsupported by a
13   declaration or affidavit, fail to satisfy the compelling reasons standard. See Cohen, 2016
14   WL 3036302, at *5.
15         Therefore, the Court GRANTS in part and DENIES in part Defendants Motion to
16   Seal. The Court hereby ORDERS the Motion and Exhibit 16 and 43-48 to the
17   Declaration in support filed under sea!. 30 The Court further DENIES Defendant's
18   request to Seal Exhibits 2, 14-15, 42, and 49.
19                4.    Motion to File Under Seal, 2/2/18 -(Doc. No. 90.)
20                      Motion/or Summary Judgment
21         Defendant seeks to file under seal portions of its Motion for Summary Judgment
22   ("Motion") in Support of Acacia's Motion for Summary Judgment that ViaSat Lacks
23   Trade Secret Rights and Exhibits 3, 10, 14-16, 21, 26, 50-63, 66, 70-79, 82-86, and 88 to
24   the Fourth Declaration of Stuart V. C. Duncan Smith in Support of their Motion. 31 The
25
26
     30
27     See Doc. Nos. 85; 85-16; 85-43 to 85-48.
     31Defendant simultaneously filed a redacted version of the Motion with the motion to
28   seal. (Doc. No. 93.)
                                                  16
                                                                             3: l 6-cv-00463-BEN-JMA
Case 3:16-cv-00463-BEN-JMA Document 169 Filed 06/14/18 PageID.13395 Page 17 of 23


 1   Court finds that Defendant has narrowly tailored its request to seal to only those portions
 2   of the Motion and Exhibits 3, 10, 16, 21, 26, 50-63, 66, 70-79, 82-86, and 88 that contain
 3   business, financial and technical information that, if disclosed, would place the
 4   designating party at a competitive disadvantage.
 5         The Court is not persuaded the information contained in Exhibits 14 and 15
6    warrants entirely sealing both reports. Exhibit 14 is a copy of the Rebuttal Report of
 7   Professor Ivan Djordjevic, Ph.D.; Exhibit 15 is a copy of the Expert Report of Dr.
 8   Alexander Vardy. Defendant alleges both exhibits contain sensitive information that
 9   ViaSat designated as "HIGHLY CONFIDENTIAL-ATTORNEYS' EYES ONLY."
10   This includes discussions of Acacia's alleged trade secrets, ViaSat's accused products
11   and technical information both parties have identified as confidential. However, as
12   discussed supra, this explanation is insufficient to justify sealing each report entirely.
13   Portions of the exhibits are sealable, but not the entire reports.
14         Therefore, the Court GRANTS in part and DENIES in part Defendants Motion to
15   Seal. The Court hereby ORDERS the Motion and Exhibits 3, 10, 16, 21, 26, 50-63, 66,
16   70-79, 82-86, and 88 to the Declaration in support filed under seal. 32 The Court further
17   DENIES Defendants request to Seal Exhibits 14 and 15.
18                5.     Motion to File Under Seal, 2/13/18 -(Doc. No. 107.)
19                       Reply in Support ofMotion for Partial Summary Judgment
20         Defendant seeks to file under seal portions of its Reply ("Reply") in Support of
21   Acacia's Motion for Summary Judgment Regarding Damages. 33 The Court finds that
22   Defendant has narrowly tailored its request to seal to only those portions of the Reply that
23   contain business, financial and technical trade secret information that, if disclosed, would
24   place the designating party at a competitive disadvantage.
25
26
     32
27     See Doc. Nos. 91; 91-1to91-18; 91-23; 91-27 to 91-59.
     33Defendant simultaneously filed a redacted version of the Reply with the motion to seal.
28   (Doc. No. 109.)
                                                    17
                                                                                3: 16-cv-00463-BEN-JMA
Case 3:16-cv-00463-BEN-JMA Document 169 Filed 06/14/18 PageID.13396 Page 18 of 23


 1         The Court GRANTS the Defendants Motion to Seal. The Court hereby ORDERS
 2   the Reply filed under seal. 34
 3                6.     Motion to File Under Seal, 2116/18 - (Doc. No. 117.)
 4                       Notice of Supplemental Evidence in Support ofMotion to Compel
 5         Defendant seeks to file under seal portions of Acacia's (a) Opposition to ViaSat's
 6   Motion to Exclude Expert Testimony; (b) Opposition to ViaSat's Motion for Summary
 7   Judgment on Acacia's Counterclaim for Patent Misappropriation; (c) Opposition to
 8   ViaSat' s Motion for Partial Summary Judgment; (d) Reply in Support of Acacia's Motion
 9   for Summary Judgment regarding No Liability (collectively "Memoranda"), and Exhibits
10   90-94, 96-97, 102-106, 112-138 to Declarations of Stuart V.C. Duncan Smith in
11   connection with the memoranda. 35 The Court finds that Defendant has narrowly tailored
12   its request to seal to only those portions of the aforementioned memoranda and Exhibits
13   90-94, 96-97, 102-106, 112-118, and 120-138 that contain business, financial and
14   technical trade secret information that, if disclosed, would place the designating party at a
15   competitive disadvantage.
16         The Court does not find Defendant has presented sufficient information to justify
17   sealing Exhibit 119. Exhibit 119 is a copy of the Expert Report of Dr. Paul R. Pruncal.
18   Defendant submitted Exhibit 119 in its entirety and seeks to seal it alleging it contains
19   sensitive information Acacia has designated "HIGHLY CONFIDENTIAL-
20   ATTORNEYS' EYES ONLY." This includes discussion of Acacia's alleged trade
21   secrets, ViaSat's accused products and technical information Acacia has identified as
22   confidential. Again, Defendant has failed to make the necessary showing to justify
23   sealing Exhibit 119 entirely. Defendant's explanation is generalized with no
24   "particularized showing" of"specific prejudice or harm." Furthermore, Defendant fails
25
26
27   34See Doc. No. 108.
     35Defendant simultaneously filed redacted versions of the Memoranda with the motion to
28   seal. (Doc. No. 119.)
                                                  18
                                                                              3:16-cv-00463-BEN-JMA
Case 3:16-cv-00463-BEN-JMA Document 169 Filed 06/14/18 PageID.13397 Page 19 of 23


 1 to explain why multiple pages of non-confidential information should be sealed. Without
 2   more, the request to seal cannot be granted.
 3         Therefore, the Court GRANTS in part and DENIES in part the Defendants Motion
 4   to Seal. The Court hereby ORDERS the Memoranda and Exhibits 90-94, 96-97, 102-
 5   106, 112-118, and 120-138 to the Declaration in support filed under seal. 36 The Court
 6   further DENIES Defendant's request to seal Exhibit 119.
 7                7.    Motion to File Under Seal, 3/5/18 - (Doc. No. 146.)
 8                      Reply in Support ofMotion to Strike and Exclude
 9         Defendant seeks to file under seal portions of its Reply ("Reply") in Support of
10   Acacia's Motion Strike and Exclude Certain Opinions ofViaSat's Experts and Exhibit
11   139 to the Ninth Declaration of Stuart V. C. Duncan Smith in Support of that motion. 37
12   The Court finds that Defendant has narrowly tailored its request to seal to only those
13   portions of the Reply and Exhibit 139 that contain business, financial and technical trade
14   secret information that, if disclosed, would place the designating party at a competitive
15   disadvantage.
16         Therefore, the Court GRANTS Defendants Motion to Seal. The Court hereby
17   ORDERS the Reply and Exhibit 139 to the Declaration in support filed under seal. 38
18                8.    Motion to File Under Seal, 3/12/18 -(Doc. No. 154.)
19                      Reply in Support ofMotion for Summary Judgment
20         Defendant seeks to file under seal portions of its Reply ("Reply") in Support of
21   their Motion for Summary Judgment that ViaSat Lacks Trade Secret Rights. 39 The Court
22
23
24   36
        See Doc. Nos. 118; 118-90 to 118-94; 118-96 to 118-97; 118-102 to 118-106; 118-112
25   to 118-118; 118-120 to 118-138.
     37 Defendant simultaneously filed a redacted version of the Reply with the motion to seal.
26   (Doc. No. 148.)
     38
27      See Doc. No. 147; 147-139.
     39 Defendant simultaneously filed a redacted version of the Reply with the motion to seal.
28   (Doc. No. 156.)
                                                    19
                                                                              3: l 6-cv-00463-BEN-JMA
Case 3:16-cv-00463-BEN-JMA Document 169 Filed 06/14/18 PageID.13398 Page 20 of 23


 1   finds that Defendant has narrowly tailored its request to seal portions to only those
2    portions of Reply that contain business, financial and technical information that, if
 3   disclosed, would place the designating party at a competitive disadvantage.
4            Therefore, the Court GRANTS Defendants Motion to Seal. The Court hereby
 5   ORDERS the Reply filed under seai. 40
6    III.    Conclusion
7            In sum, the Court finds that a majority of the parties' various motions to seal have
 8   been narrowly tailored such that they do not unnecessarily impede upon the public's
9    ability to understand the nature of the proceedings and the factual basis for the parties'
10   claims. As such and in light of the aforementioned compelling reasons justifying sealing,
11   the Court GRANTS the motions to seal as described above and as identified by the
12   following table in its entirety. Furthermore, any and all documents the Court declined to
13   seal shall be filed in the public record accordingly.
14    Doc. No. Movant                            Document(s) to be Sealed
15          73      Acacia    Documents lodged at Docket Number 74 as Memorandum of
                              Points and Authorities in Support of Acacia's Motion for Partial
16
                              Summary Judgment Regarding Damages and exhibit 3, 5-7 and
17                            9-11 to the Declaration of Stuart V. C. Duncan Smith in Support
                              of that motion.
18
            81      Acacia    Documents lodged at Docket Number 82 as Memorandum of
19                            Points and Authorities in Support of Acacia's Motion for
                              Summary Judgment Regarding No Liability and exhibit 5, 13,
20
                              17-23, 27-30, and 33-41 to the Declaration of Stuart V.C.
21                            Duncan Smith in support of that motion.
22          84      Acacia    Documents lodged at Docket Number 85 as Memorandum of
                              Points and Authorities in Support of Acacia's Motion to Strike
23                            and Exclude Certain Opinions ofViaSat's Experts and exhibit
24                            16, 43-48 to the Third Declaration of Stuart V. C. Duncan Smith
                              in sunnort of that motion.
25          87      ViaSat    Documents lodged at Docket Number 88 as Memorandum of
26                            Points and Authorities in Sunnort ofViaSat's Motion for

27
28   40
          See Doc. No. 155.
                                                   20
                                                                               3: l 6-cv-00463-BEN-JMA
Case 3:16-cv-00463-BEN-JMA Document 169 Filed 06/14/18 PageID.13399 Page 21 of 23


 1                      Summary Judgment on Acacia's Counterclaim for Patent
                        Misappropriation and exhibit 4 and 5 to the Declaration of Erika
 2
                        H. Warren in support of that motion.
 3     90      Acacia   Documents lodged at Docket Number 91 as Memorandum of
                        Points and Authorities in Support of Acacia's Motion for
 4
                        Summary Judgment that ViaSat Lacks Trade Secret Rights and
 5                      exhibit 3, 10, 16, 21, 26, 50-63, 66, 70-79, 82-86, and 88 to the
                        Fourth Declaration of Stuart V. C. Duncan Smith in support of
 6
                        that motion.
 7     92      ViaSat   Documents lodged at Docket Number 94 as Memorandum of
 8                      Points and Authorities in Support ofViaSat's Motion to Exclude
                        Expert Testimony, exhibits 2-8, 10-17 to the Declaration of
 9                      Patrick M. Shields in Support of motion, and the Declaration of
10                      Dr. Russell Fuerst.
       96      ViaSat   Documents lodged at Docket Number 97 as Memorandum of
11                      Points and Authorities in Support of Motion for Partial Summary
12                      Judgment and exhibit 1-18, 23, and 27-59 to the Declaration of
                        Kenneth M. Fitzgerald in support of that motion.
13     101     ViaSat   Documents lodged at Docket Number 102 as Opposition to
14                      Acacia's Motion for Partial Summary Judgment Regarding
                        Damages and exhibit 1, 5-11, 13-14, 16-30, 32-34, 37-39, and
15                      41-44 to the Declaration of Patrick M. Shields in support of the
16                      Onnosition.
       104     ViaSat   Documents lodged at Docket Number 105 as Opposition to
17                      Acacia's Motion for Summary Judgment Regarding No Liability
18                      and exhibit 5-16 and 21-39 to the Declaration of Kenneth M.
                        Fitzgerald in support of the Opposition.
19     107     Acacia   Documents lodged at Docket Number 108 as Reply in Support of
20                      Acacia's Motion for Summary Judizment Regardiniz Damaizes.
       117     Acacia   Documents lodged at Docket Number 118 as Opposition to
21                      ViaSat's Motion to Exclude Expert Testimony, Opposition to
22                      ViaSat's Motion for Summary Judgment on Acacia's
                        Counterclaim for Patent Misappropriation; Opposition to
23                      ViaSat's Motion for Partial Summary Judgment; Reply in
24                      Support of its Motion for Summary Judgment Regarding No
                        Liability; and exhibits 90-94, 96-97, 102-106, 112-118, and 120-
25                      138 to Declarations of Stuart V. C. Duncan Smith in connection
26                      with the four aforementioned memoranda.
       123     ViaSat   Documents lodged at Docket Numbers 124 and 125 as Corrected
27                      Memorandum in Support ofViaSat's Motion for Summary
28                      Judgment on Acacia's Counterclaim for Patent Misappropriation;

                                             21
                                                                        3: 16-cv-00463-BEN-JMA
Case 3:16-cv-00463-BEN-JMA Document 169 Filed 06/14/18 PageID.13400 Page 22 of 23


 1                        Corrected Memorandum of Points and Authorities in Support of
                          ViaSat's Motion to Exclude Expert Testimony; and Exhibits F
 2
                          and G as Ex Parte Applications for Leave to Correct Errors in the
 3                        aforementioned memorandums.
           133   ViaSat   Documents lodged at Docket Number 134 as Reply
 4
                          Memorandum of Points and Authorities in Support of Motion for
 5                        Partial Summary Judgment and exhibit 60-63 to the Reply
                          Declaration of Kenneth M. Fitzizerald in support of the motion.
 6
           136   ViaSat   Documents lodged at Docket Number 13 7 as Memorandum of
 7                        Points and Authorities in Support of Opposition to Acacia's
                          Motion to Strike and Exclude Certain Opinions ofViaSat's
 8
                          Experts and exhibit 1-3, and 6 to the Declaration of Matthew S.
 9                        Warren in sunnort of Opposition.
           139   ViaSat   Documents lodged at Docket Number 140 as Reply
10
                          Memorandum of Points and Authorities in Support ofViaSat's
11                        Motion to Exclude Expert Testimony and exhibits 18-23 to the
12                        Declaration of Patrick M. Shields in sunnort of the motion.
           142   ViaSat   Documents lodged at Docket Number 143 as Reply
13                        Memorandum of Points and Authorities in Support ofViaSat's
14                        Motion for Summary Judgment on Acacia's Counterclaim for
                          Patent Misappropriation.
15         146   Acacia   Documents lodged at Docket Number 147 as Reply in Support of
16                        its Motion to Strike and Exclude Certain Opinions ofViaSat's
                          Experts and exhibit 139 to the Ninth Declaration of Stuart V. C.
17                        Duncan Smith in Sunnort ofReplv.
18         149   ViaSat   Documents lodged at Docket Number 150 as Opposition to
                          Acacia's Motion for Summary Judgment that ViaSat Lacks
19                        Trade Secret Rights; exhibit 1 to the Declaration of Russel Fuerst
20                        In Support of the Opposition; exhibit 1 to the Declaration of
                          Chandrasekar Raj In Support of the Opposition; and exhibits 3-
21                        20 to the Declaration of David M. Beckwith In Support of the
22                        Onnosition.
           154   Acacia   Documents lodged at Docket Number 155 as Reply in Support of
23                        its Motion for Summary Judgment that ViaSat Lacks Trade
24                        Secret Riizhts.
           164   ViaSat   Documents lodged at Docket Number 165 as Memorandum of
25                        Contentions of Fact and Law, and exhibit A to the Memorandum.
26   Ill
27   Ill
28   Ill
                                               22
                                                                           3: 16-cv-00463-BEN-JMA
Case 3:16-cv-00463-BEN-JMA Document 169 Filed 06/14/18 PageID.13401 Page 23 of 23


 1 IT IS SO ORDERED.
 2
 3   DATED:~"---''-""""":::..___,, 2018

 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                           23
                                                                   3: l 6-cv-00463-BEN-JMA
